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 8
                                         United States District Court
 9                                   for the Eastern District of California
                                     Robert T. Matsui Federal Courthouse
10

11    JAMAL SHEHADEH,                               No. 2:16-cr-00038-KJM-CKD
12                  Petitioner,                     ORDER
             vs.
13
      RICHARD B. IVES, Warden, United States
14    Penitentiary, Lompoc, California,
15                  Respondent.
16

17

18          Good cause appearing, and there being no opposition, this court grants petitioner a 31-day
19 extension of time to file the objections to the magistrate judge’s findings and recommendations, from

20
     Friday, June 21, 2024, to and including Monday, July 21, 2024.
21
     Dated: June 13, 2024
22                                                 _____________________________________
                                                   CAROLYN K. DELANEY
23                                                 UNITED STATES MAGISTRATE JUDGE
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